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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x
IN RE:
                                                                     Chapter 13
MARIA DOROTHY STROHBEHN
                      xxx-xx- 3515
                      xxx-xx- N/A                                    Case No. 11-15686

                                    Debtor(s)
-----------------------------------------------------------x

              CHAPTER 13 TRUSTEE’S REPORT OF COMPLETION
                           OF PLAN PAYMENTS


  JEFFREY L. SAPIR, Chapter 13 Trustee, reports to the Court that the above-named
Debtor(s) has made all payments to the Chapter 13 Trustee as required by the Confirmed
Chapter 13 Plan.


Dated: White Plains, New York
          February 15, 2017




                                                               /s/ Jeffrey L. Sapir, Esq.

                                                               Jeffrey L. Sapir
                                                               Chapter 13 Trustee
                                                               399 Knollwood Road
                                                               White Plains, New York 10603
                                                               914-328-6333




DSH New Law 10/17/05
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UNITED STATES BANKRUPTCY COURT                                                          FORM 1
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------x
IN RE:
MARIA DOROTHY STROHBEHNxxx-xx- 3515                                 Chapter 13
                                             xxx-xx- N/A
                                                                    Case No. 11-15686
                                    Debtor(s)
--------------------------------------------------------------x
            DEBTOR’S REQUEST FOR ENTRY OF DISCHARGE and
             CERTIFICATION REGARDING PLAN COMPLETION

  The Debtor makes the following certifications regarding the completion of the plan:

  ✔      1. I have satisfied all plan requirements.

  ✔      2. I have completed the post-petition Financial Management Course. (The
            certificate of completion must be filed with the Court before the Court can
            issue the Discharge)

I declare under penalty of perjury that the information provided in this certification and
motion is true and correct and move the Court to enter a discharge in this case.

     01/23/2017
     ________________                                         MARIA DOROTHY STROHBEHN
                                                              __________________________
           Date                                                            Sign

    ___________________                                       _______________________________
         Date                                                              Sign




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B283 (Form 283) (04/13)


                        UNITED STATES BANKRUPTCY COURT
                               Southern
                               _______________              New York
                                               District Of _______________

In re MARIA DOROTHY STROHBEHN                                                                   11-15686
                                                                                       Case No. _________
                                Debtor


                     CHAPTER 13 DEBTOR’S CERTIFICATIONS REGARDING
                    DOMESTIC SUPPORT OBLIGATIONS AND SECTION 522(q)

Part I. Certification Regarding Domestic Support Obligations (check no more than one)

          Pursuant to 11 U.S.C. Section 1328(a), I certify that:

          ✔
          G      I owed no domestic support obligation when I filed my bankruptcy petition, and I
          have not been required to pay any such obligation since then.

          G      I am or have been required to pay a domestic support obligation. I have paid all
          such amounts that my chapter 13 plan required me to pay. I have also paid all such
          amounts that became due between the filing of my bankruptcy petition and today.

Part II. If you checked the second box, you must provide the information below.

          My current address: _______________________________________________________

          My current employer and my employer’s address:________________________________
          _________________________________________________________________                                                           _______


Part III. Certification Regarding Section 522(q) (check no more than one)

          Pursuant to 11 U.S.C. Section 1328(h), I certify that:

          ✔
          G       I have not claimed an exemption pursuant to § 522(b)(3) and state or local law (1)
          in property that I or a dependent of mine uses as a residence, claims as a homestead, or
          acquired as a burial plot, as specified in § 522(p)(1), and (2) that exceeds $155,675* in
          value in the aggregate.

          G       I have claimed an exemption in property pursuant to § 522(b)(3) and state or local
          law (1) that I or a dependent of mine uses as a residence, claims as a homestead, or
          acquired as a burial plot, as specified in § 522(p)(1), and (2) that exceeds $155,675* in
          value in the aggregate.




*Amounts are subject to adjustment on 4/01/16, and every 3 years thereafter with respect to cases commenced on or after the date of
adjustment.
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Part IV. Debtor’s Signature

               I certify under penalty of perjury that the information provided in these
       certifications is true and correct to the best of my knowledge and belief.


       Executed on 01/23/2017                        MARIA DOROTHY STROHBEHN
                    Date                                      Debtor
